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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS
_______________________________________
                                          )
D.V.D., et al.,                           )
                                          )
                Plaintiffs,               )
                                          )       Civil Action No.
      v.                                  )       25-10676-BEM
                                          )
U.S. DEPARTMENT OF HOMELAND               )
SECURITY, et al.,                         )
                                          )
                Defendants.               )
_______________________________________)

      ORDER ON REMEDY FOR VIOLATION OF PRELIMINARY INJUNCTION

MURPHY, J.

       As set forth in today’s hearing and at Dkt. 118, the Court found that Defendants violated

the Court’s Preliminary Injunction. Having considered the arguments of counsel, the Court

ORDERS the following remedy for Defendants’ violations of the Preliminary Injunction:

       Each of the six individuals must be given a reasonable fear interview in private, with the

opportunity for the individual to have counsel of their choosing present during the interview, either

in-person or remotely, at the individual’s choosing. Each individual must be afforded access to

counsel that is commensurate with the access that they would have received had these procedures

occurred within the United States prior to their deportation, including remote access where

in-person access would otherwise be available. Each individual must also be afforded the name

and telephone number of class counsel, as well as access to a phone, interpreter, and technology

for the confidential transfer of documents that is commensurate with the access they would receive

were they in DHS custody within United States borders.

       Each individual, along with class counsel, must be given no fewer than 72-hours’ notice of

the scheduled time for each reasonable fear interview. Should any individual raise a fear with
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respect to deportation to the third country that DHS determines falls short of “reasonable fear,” the

individual must be provided meaningful opportunity, and a minimum of 15 days, to seek to move

to reopen immigration proceedings to challenge the potential third-country removal. During that

15-day period, the individual must remain within the custody or control of DHS, and must be

afforded access to counsel that is commensurate with the access they would be afforded if they

were seeking to move to reopen from within the United States’ borders. Defendants must provide

status reports every seven days as to all six individuals. Should any individual move to reopen,

the parties must also immediately provide a status report, and continue providing status reports

every seven days thereafter, on the status of the motion to reopen.

       DHS, in its discretion, may elect to provide this process to the six individuals either within

the United States—should it choose to return them to the United States—or abroad, if at all relevant

times DHS retains custody and control over the individuals in conditions commensurate to those

the individuals would be housed in were they still in DHS’s custody within the United States.

       This Order reflects a remedy, in light of the Court’s finding of a violation of its Preliminary

Injunction, that has been narrowly tailored in accordance with principles of equity. The Court

cautions Defendants that this remedy should not be construed as setting forth a course of conduct

that would constitute compliance with the Preliminary Injunction, and the Court is not—in

ordering this remedy—making any findings or conclusions that compliance with these processes

before deportation would have satisfied the requirements of its Preliminary Injunction in the first

instance.

So Ordered.

                                                  /s/ Brian E. Murphy
                                                  Brian E. Murphy
Dated: May 21, 2025                               Judge, United States District Court




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